                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                   3:05-CR-00105-RJC
 USA                                               )
                                                   )
    v.                                             )                  ORDER
                                                   )
 DARRYL EUGENE MILLS                               )
                                                   )

         THIS MATTER is before the Court upon motion of the defendant through counsel for a

reduction of sentence based on retroactive amendments to the United States Sentencing

Guidelines regarding drug offenses, (Doc. No. 85), counsel’s subsequent notice of ineligibility,

(Doc. No. 93); and the government’s response in opposition, (Doc. No. 90).

         The Court previously reduced the defendant’s sentence to 120 months’ imprisonment for

Count One, the mandatory minimum applicable to his drug offense, based on other amendments

to the guidelines. (Doc. No. 83: Order; Doc. No. 94: Supplemental Presentence Report at 1).

Accordingly, the recent change in the guidelines does not affect the defendant’s sentence. Neal v.

United States, 516 U.S. 284, 296 (1996) (retroactive amendment to guidelines does not alter

statutory mandatory minimum); United States v. Hood, 556 F.3d 226, 233 (4th Cir. 2009).

         IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 85), is

DENIED.

         The Clerk is directed to certify copies of this order to the defendant, the Federal

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.


                                               Signed: November 15, 2016




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